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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA


DAVID IRVIN, on behalf of himself and
all others similarly situated,

     Plaintiff,
                                          Case No. 1:23-cv-00530-CCC
v.

CABELA’S L.L.C. and BPS DIRECT,
L.L.C.,

     Defendants.

         PLANTIFF’S OPPOSITION TO DEFENDANTS’
     MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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                                 INTRODUCTION

      In 1995, the Pennsylvania legislature amended the Uniform Firearms Act,

adding a provision that requires companies and public entities to keep information

about gun ownership confidential. While the legislative history is sparse, the

motivations for the amendment are clear. Unlike other consumer goods,

knowledge about gun ownership, when given to the wrong person, can have dire,

life-threatening consequences. It is no one’s business, the Pennsylvania legislature

has determined, to know which law-abiding citizens are also gun owners.

      In December 2021, David Irvin (“Plaintiff”) navigated to cabelas.com, a

website operated by Cabela’s L.L.C. and BPS Direct L.L.C. (“Defendants”), and

he purchased a firearm. While purchasing that firearm, Plaintiff had a reasonable

expectation that Defendants would keep the information he entered—like his

name, address, and the type of gun he purchased—confidential. Unbeknownst to

Plaintiff, Defendants integrated into their website the Facebook Tracking Pixel, a

piece of code that, as the name implies, tracked Plaintiff as he browsed for and

purchased a firearm, sending to Facebook every button he clicked, page he visited,

and form he completed. That conduct, Plaintiff now alleges, violated the Uniform

Firearms Act (“UFA”) and Pennsylvania’s Wiretapping Act (“WESCA”).

      Defendants have no compelling defense. First, Defendants assert that

Plaintiff lacks standing, arguing that he fails to allege a concrete injury. But as



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numerous courts have held, Plaintiff has suffered a harm that bears a close

relationship to privacy torts that have been historically recognized as providing a

basis for suit. Second, Defendants offer a grab bag of reasons for why Plaintiff’s

WESCA claim should be dismissed, contending, for example, that Plaintiff fails to

allege the Facebook Tracking Pixel constitutes a “device” and that he fails to allege

Defendants assisted Facebook with intercepting the “content” of his

communications. Each of these arguments are firmly rebutted by Third Circuit

authority and Plaintiff’s allegations. Defendants end by challenging Plaintiff’s

UFA claim, arguing that he fails to properly allege a “disclosure” of the

information he furnished while purchasing a firearm. Their arguments, however,

contravene the statute’s plain text and ignore the decisions from Pennsylvania

courts saying the opposite. Defendants’ motion to dismiss should therefore be

denied.

                                    ARGUMENT

   I.      PLAINTIFF HAS ARTICLE III STANDING

        Defendants argue that “Plaintiff lacks standing to bring all of his claims

because he has not alleged an actual injury.” See ECF No. 39, Motion to Dismiss

(“MTD”) at 5. That argument is incorrect, however, because Plaintiff alleges

injuries that bear a close relationship to harms traditionally recognized as providing

a basis for suit.



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         A. Plaintiff Has Standing to Bring His Claim Under the Uniform
            Firearms Act

      Plaintiff plausibly pleads that Defendants violated the Uniform Firearms

Act, thereby injuring him in a way that bears a close relationship to the disclosure

of private information and intrusion upon seclusion.

      As the Supreme Court has recognized, “disclosure of private information[]

and intrusion upon seclusion” constitute “harms traditionally recognized as

providing a basis for lawsuits in American courts.” TransUnion, 141 S.Ct. 2190,

2204 (2021). The Third Circuit is in accord, acknowledging that “certain privacy

harms, like the disclosure of private information and intrusion of seclusion, have

long given rise to tort claims.” See Clemens v. ExecuPharm Inc., 48 F.4th 146,

155 (3d Cir. 2022). Because those privacy harms are “well-ensconced in the fabric

of American law,” intangible harms bearing a close relationship to them “qualify

as concrete.” See id. at 155–159 (internal quotations omitted).

      Plaintiff alleges that, “[o]n December 2, 2021,” he “purchased a firearm

from Defendants,” and without his “knowledge, consent, or express written

authorization,” Defendants “disclosed Plaintiff’s name, address, his Facebook ID,

[and] the type of gun he purchased, among other items.” See ECF No. 20, First

Amended Complaint (“FAC”) ¶¶ 9, 69–70. That conduct harmed Plaintiff,

disclosing information he deemed “sensitive,” “confidential,” and “personally

identifiable.” Id. ¶¶ 9, 39, 48. The Pennsylvania legislature made that harm


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cognizable by enacting the Uniform Firearms Act, a statute requiring Defendants

to keep “[a]ll information” provided by firearm purchasers, including their “name

or identity,” “confidential.” 18 Pa. C.S. § 6111(i). Accordingly, by nonetheless

disclosing “protected information about [Plaintiff’s] firearms purchases,”

Defendants created a concrete and cognizable injury. See FAC ¶ 9; see also

Susinno v. Work Out World Inc., 862 F.3d 346, 352 (3d Cir. 2017) (“Where a

plaintiff’s intangible injury has been made legally cognizable through the

democratic process, and the injury closely relates to a cause of action traditionally

recognized in English and American courts, standing to sue exists.”).

      In nearly identical contexts, courts from across the country—including the

Third Circuit—have reached the same conclusion. Those cases concern the Video

Privacy Protection Act and Michigan’s Preservation of Personal Privacy Act, two

statutes that prohibit companies from disclosing information that identifies

customers and what they have watched or read. See 18 U.S.C. § 2710(b)(1); Mich.

Compl. Laws § 445.1712. Under both statutes, both before and after TransUnion,

courts have uniformly held that unlawful disclosures constitute concrete injuries

sufficient to confer Article III standing. See, e.g., In re Nickelodeon Consumer

Privacy Litigation, 827 F.3d 262, 274 (3d Cir. 2016) (“While perhaps ‘intangible,’

the harm is also concrete in the sense that it involves a clear de facto injury, i.e.,

the unlawful disclosure of legally protected information.”); Batts v. Gannett Co.,


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2023 WL 3143695, at *3 (E.D. Mich. Mar. 30, 2023) (“[T]he Supreme Court’s

recent TransUnion case does not alter the settled matter of a PPPA violation

satisfying Article III standing requirement for a concrete and particularized injury

in fact.”); Salazar v. National Basketball Association, 2023 WL 5016968, at *5

(S.D.N.Y. Aug. 7, 2023) (collecting cases); Lin v. Crain Communications, Inc.,

2020 WL 248445, at *6 (E.D. Mich. Jan. 16, 2020) (collecting cases).

      These cases apply with full force here. As with the VPPA and the PPPA, the

UFA deems a type of information “confidential” and prohibits its “disclosure.” 18

Pa.C.S. § 6111(i). Because Defendants disclosed that information anyway,

Plaintiff suffered an intangible harm akin to intrusion upon seclusion and

disclosure of private information. Cf. Feldman v. Star Tribune Media Company

LLC, 2023 WL 2388381, at *5 (D. Minn. Mar. 7, 2023) (noting the “evidently

close relationship between Feldman’s VPPA claim in this case and the intrusion-

upon-seclusion tort as it has been traditionally understood”). Plaintiff thus

properly alleges a concrete injury.

         B. Plaintiff Has Standing to Bring His Claim Under the
            Pennsylvania Wiretapping Act

      Plaintiff has standing to bring his WESCA claim because his injury bears a

close relationship to intrusion upon seclusion.

      The prevailing view is that a wiretap, by itself, constitutes a concrete injury

because it bears a sufficiently close relationship to intrusion upon seclusion. See,


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e.g., Restatement (Second) of Torts § 652B, cmt. b (listing examples of intrusion

upon seclusion, including “tapping … phone lines” and “opening … private and

personal mail”); Raffin v. Medicredit, Inc., 2016 WL 7743504, at *3 (C.D. Cal.

Dec. 18, 2016) (“Following Spokeo, district courts in the Ninth Circuit consistently

have concluded that, to satisfy injury in fact, a plaintiff in a CIPA action need not

allege actual harm beyond the invasion of the private right conferred by the

statute.”).

       More recently, some courts have held that a wiretap alone is insufficient,

requiring that the communications also contain private or personal information.

See, e.g. Massie v. General Motors LLC, 2022 WL 534468, at *5 (D. Del. Feb. 17,

2023) (“‘Eavesdropping’ on communications that do not involve personal

information, personally identifiable information, or information over which a party

has no reasonable expectation of privacy does not amount to a concrete injury.”);

see also Lightoller v. Jetblue Airways Corp., 2023 WL 3963823, at *4 (S.D. Cal.

June 12, 2023) (holding that, because “no personal information was intercepted or

recorded,” the plaintiff “has failed to establish injury in fact”).

       Under either standard, however, Plaintiff still establishes a concrete injury,

alleging Defendants “assist[ed] Facebook with interceptions communications that

contain sensitive information.” See, e.g., FAC ¶ 38. Those communications

contained, for example, “Plaintiff’s name, address, Facebook ID, [and] the type of


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gun he purchased, among other items.” Id. ¶ 70. That information was not only

“personally identifiable,” see id. ¶ 29, but also “confidential,” see id. ¶ 48, because

it was shielded from disclosure by the Uniform Firearms Act. At no point,

moreover, did Defendants ever receive “consent or written authorization.” Id. ¶ 9.

Taken together, under any standard, those allegations are enough to show concrete

injury. See, e.g., In re: Google Inc. Cookie Placement Consumer Privacy Litig.,

934 F.3d 316, 325 (3d Cir. 2019) (“History and traditional reinforce that a concrete

injury for Article standing purposes occurs when Google, or any other third party,

tracks a person’s internet browser activity without authorization.”); Massie, 2022

WL 534468, at *5 (“I agree that Plaintiffs have a legally cognizable interest in

controlling their personal information and that intrusion upon that interest would

amount to a concrete injury.”).

       Defendants attempts to counter this authority, arguing that, for both claims,

Plaintiff lacks standing because “an invasion of privacy requires ‘publicity’” and

he “only alleges that his information was disclosed to a single entity, Facebook.”

See MTD at 7. As an initial matter, despite the Supreme Court’s repeated

admonition that “standing is not dispensed in gross,” see Town of Chester, N.Y. v.

Laroe Estates, Inc., 581 U.S. 433, 439 (2017), Defendants analyze the two claims

together. See MTD at 5–8. Notwithstanding this, Defendants’ argument

contravenes Third Circuit authority, ignoring that both claims are analogous to


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intrusion upon seclusion, a tort that “does not require publication as an element.”

See Borse v. Piece Goods Shop, Inc., 964 F.2d 611, 621 (3d Cir. 1992); see also In

re Nickelodeon Cons. Priv. Litig., 827 F.3d at 268 (finding Article III standing to

assert VPPA and wiretap claims against Viacom and Google where the plaintiffs

alleged that those two parties, and only those two parties, “unlawfully used cookies

to track children’s web browsing and video-watching habits on Viacom’s

websites”). Defendants’ argument can therefore be rejected with ease. 1

     II.      PLAINTIFF ADEQUATELY ALLEGES A VIOLATION OF
              WESCA

              A. Plaintiff Alleges an Interception in Pennsylvania

           Defendants argue that “Plaintiff fails to allege that a WESCA violation

occurred in Pennsylvania” because he “does not allege the location where his

information was routed to Facebook’s servers.” MTD at 9. That is incorrect.

Plaintiff alleges that Defendants’ interception took place when he was “accessing

the website and completing [his] purchase,” and that during that time he “was

located in Pennsylvania.” FAC ¶ 6. In addition, Plaintiff specifically alleges that

Defendants’ interception took place on his Pennsylvania-based computer because

the Facebook Tracking Pixel sent code to his computer that compelled his

“browser to send nine cookies to Facebook,” including the c_user cookie that



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    Plaintiff withdraws his request for injunctive relief.


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included his Facebook ID. Id. ¶¶ 27-31. Likewise, Plaintiff alleges that

Defendants configured the Facebook Tracking Pixel to enable Automatic

Advanced Matching which compelled his browser to disclose various pieces of

data to Facebook. Id. ¶¶ 34-36.

      Popa v. Harriet Carter Gifts, Inc., 52 F.4th 121 (3d Cir. 2022) confirms that

these allegations are sufficient to survive a motion to dismiss. There, the Third

Circuit held that “the place of interception is the point at which the signals were

routed” to the non-party, including the location of the browser that accessed the

website at issue and where the code “began telling the browser to communicate with

its servers.” Id. at 131. Here, Plaintiff adequately states a claim under WESCA

because he alleges that Defendants sent code to his computer in Pennsylvania that

then compelled his browser to send communications to Facebook. FAC ¶¶ 27-31,

34-36.    Because Plaintiff alleges that the code ultimately responsible for the

interception, and the browser that was compelled to carry out the interception, were

both on his Pennsylvania-based computer, he sufficiently alleges an interception in

Pennsylvania. And, as Popa points out, ultimately proving those allegations is a

fact-intensive exercise that is better determined on summary judgment. Popa, 52

F.4th at 131-32 (vacating summary judgment for defendants for, inter alia, further

factual development regarding the locus of interception).




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         B. Plaintiff Alleges that the Contents of his Communications were
            Intercepted

      Defendants argue that Plaintiff does not adequately plead a claim under

WESCA because he “does not allege what URLs he visited, what buttons he

clicked, or any forms he completed on Cabela’s website.” FAC at 11. That is

incorrect. Plaintiff provides ample detail about the contents of his communications

on cabelas.com that were intercepted.

      WESCA defines “contents” to include “any information concerning the

substance, purport, or meaning of that communication.” 18 Pa. Cons. Stat. § 5702.

Here, Plaintiff adequately alleges that the contents of his communications with

cabelas.com were intercepted because he specifies what information Defendants

sent to Facebook. See, e.g., FAC ¶ 2 (“Plaintiff Irvin purchased a Henry Big Boy

Classic Centerfire Lever-Action Rifle - .45 Colt from cabelas.com”); id. ¶ 9

(Defendants “assisted Facebook with intercepting Plaintiff’s communications,

including those that contained personally identifiable information and protected

information about their firearms purchases.”); id. ¶ 18 (the Facebook Tracking

Pixel on Defendants’ websites was configured to send “PageView” information to

Facebook, which includes the URL accessed); id. ¶ 21 (the Facebook Tracking

Pixel on Defendants’ websites was configured to send “Microdata” information to

Facebook, which includes “the title and description of the webpage” visited); id. ¶¶

22-23 (the Facebook Tracking Pixel on Defendants’ websites was configured for


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“Button Click Automatically Detected” so that clicks on buttons such as “ORDER

ONLINE,” “ADD TO CART,” “CHECKOUT,” “CONTINUE,” “REVIEW

ORDER,” and “PLACE ORDER” would be sent to Facebook); id. ¶ 24-25 (the

Facebook Tracking Pixel on Defendants’ websites was configured so that text

entered into fields (such as name and address) would be sent to Facebook).

      “This event data, jointly and independently, permit an ordinary person to

identify what a consumer has viewed and/or purchased on Defendants’ websites.”

Id. ¶ 26. Indeed, if one was designing technology to track “information concerning

the substance, purport, or meaning” of a user’s activity on Defendants’ websites, it

hard to imagine what else they could even conceivably include. Accordingly,

Plaintiff has sufficiently alleged that interception of the contents of his

communications. In re Meta Pixel Healthcare Litig., 2022 WL 17869218, at *11

(N.D. Cal. Dec. 22, 2022) (“[B]ecause the ‘Log in’ button and full-string URLs

concern the ‘substantive, purport, or meaning of a communication,’ these

transmissions likely constitute ‘contents.’”). And, at worst, Plaintiff sufficiently

alleges facts that should be determined at summary judgment rather than on a

motion to dismiss. Popa, 426 F. Supp. 3d at 119 (stating that “the Court is not

disposed to rule on whether any of it constituted ‘content’ under WESCA as a

matter of law at this juncture,” and explaining that “[t]he Court will be better

equipped to do so after a record is developed”).


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          C. Plaintiff Sufficiently Alleges that His Communications were
             Intercepted Through the Use of a Device or Apparatus

      Defendants argue that Plaintiff does not allege the use of a device for

purposes of WESCA because “a device does not encompass intangible software

code on a website.” MTD at 14-15. That is incorrect. WESCA defines “intercept”

to include “any electronic, mechanical or other device,” which it in turns defines to

include “[a]ny device or apparatus” that can be used to intercept electronic

communications. 18 PA. C.S.A. § 5702 (emphasis added). “The use of the word

‘any’ before the phrase ‘device or apparatus’ in Section 5702 implies that the class

of technology contemplated by WESCA is broad.” Popa v. Harriet Carter Gifts,

Inc., 426 F. Supp. 3d 108, 117 (W.D. Pa. 2019); id. at 166 (“WESCA defines the

term ‘device’ broadly . . . .”). In addition, the Facebook Tracking Pixel does not

fall within any of WESCA’s exceptions to the definition of “devices” which “must

be construed narrowly.” Id. And, at the end of the day, whether particular

computer “code qualifies as a ‘device’ or ‘apparatus’ is a fact intensive inquiry that

implicates novel questions” and “[t]he discovery process will give the parties an

opportunity to develop a record that contextualizes the conduct at issue in light of

this statutory language.” Id.

      Defendants do not cite to a single case interpreting WESCA so narrowly that

it excludes computer code. To the contrary, the Third Circuit has assumed that

software counts as a device under WESCA. See Popa, 52 F.4th at 131 n.8; see also


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Commonwealth v. Smith, 136 A.3d 170, 178 (Pa. Super. Ct. 2016) (an app that can

record conversations “constitute[s] an interception ‘device’ under the Wiretap

Act”). And courts interpreting parallel wiretapping statutes have routinely held

that computer code counts as a device. United States v. Hutchins, 361 F. Supp. 3d

779, 795 (E.D. Wis. 2019) (“The majority of courts to consider this issue have

entertained the notion that software may be considered a device for the purposes of

the [federal] Wiretap Act.”); Luis v. Zang, 833 F.3d 619, 630 (6th Cir. 2016)

(accepting that a software could be a “device”); In re Carrier IQ, Inc., 78

F.Supp.3d 1051, 1087 (N.D. Cal. 2015) (concluding that a software was an

“electronic, mechanical or other device”); Klumb v. Goan, 884 F. Supp. 2d 644,

661-62 (E.D. Ten. 2012) (analyzing spyware software as a device); Shefts v.

Petrakis, 2012 WL 4049484, at *8-9 (C.D. Ill. 2012) (analyzing software as a

device); United States v. Barrington, 648 F.3d 1178, 1203 (11th Cir. 2011)

(accepting that a keylogger software could be considered a scanning receiver, or a

device, under 18 U.S.C. § 1029(e)(8)).

         D. Plaintiff Did Not Consent to the Interception of His
            Communications

      Defendants argue that Plaintiff’s WESCA claim fails as a matter of law

because Facebook and Defendants both purportedly obtained his consent to the

interception. That is incorrect. Facebook expressly states that it only intercepts

data when third-parties like Defendants have the lawful right to share such data.


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Here, because Plaintiff never gave Defendants consent to share his firearm

purchase data, their violation of WESCA and the UFA are not excused by

Facebook’s policies.

      Defendants contend that Plaintiff consented to Facebook’s Cookie’s Policy

which states that Facebook tracks users’ “off-Facebook activity.” MTD at 17. As

an initial matter, “a district court may not consider matters outside of the

Complaint when ruling on a motion to dismiss.” Cerome v. Moshannon Valley

Corr. Ctr./Cornell Companies, Inc., 2010 WL 4948940, at *3 (3d Cir. Dec. 7,

2010). In addition, Defendants have not made any showing that Plaintiff ever

agreed to Facebook’s Cookies Policy, let alone the version that it attaches to its

motion.

      Regardless, as one recent case made clear, even if Plaintiff had agreed to that

policy, it would not constitute consent to the interception at issue. In In re Meta

Pixel Healthcare Litig., 2022 WL 17869218 (N.D. Cal. Dec. 22, 2022), the

plaintiffs alleged that Meta used the Facebook Tracking Pixel to obtain their

healthcare-related information from various websites. Like Defendants here, Meta

argued that the plaintiffs consented to that interception because its policies “notify

Facebook users that [it] collects and uses their personal data, including data about

their browsing behavior on some third-party websites, at least in part for targeted

advertising.” Id. at *9 (citing Meta’s Cookie Policy and Terms of Service). The


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court disagreed, holding that Meta’s “generalized notice” was not sufficient to

establish consent to interception of health data in particular. Id. In addition, the

court relied on Facebook’s separate representation to users that it “requires” any

third-party to have “lawful rights to collect, use and share your data before

providing any data to us.” Id. at *10 (quoting Meta’s Data Policy).

      The same reasoning applies here. Even if Defendants could demonstrate

that Plaintiff agreed to Meta’s Cookie Policy, the scope of that consent is limited

by Meta’s Data Policy and therefore turns on whether Defendants were entitled to

share that data in the first instance. Here, given the application of WESCA and the

UFA to the disclosures at issue, it was not. See FAC ¶ 43 (reviewing Facebook’s

Data Policy and observing it expressly represents that Facebook requires

“partners,” like Defendants, “to have lawful rights to collect, use, and share your

data before providing any data to us”); see also ¶ 45 (reviewing public

representations from Facebook stating that the social media site “prohibit[s]

businesses or organizations from sharing sensitive information with us”).

      Nor have Defendants demonstrated that they procured consent themselves to

avoid violating those statutes. Defendants argue that Plaintiff “consented to BPS’s

use of the Facebook Pixel by accepting BPS’s privacy policy,” but it provides zero

evidence of such an acceptance. While Defendants state that the policy (which it

does not even bother to attach to its motion) was “publicly-posted” on its website,


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that kind of a browsewrap agreement does not constitute an enforceable contract

because it does not involve any action (such as clicking “I Agree”) that would

manifest assent. See James v. Glob. TelLink Corp., 852 F.3d 262, 267 (3d Cir.

2017) (“When terms are linked in obscure sections of a webpage that users are

unlikely to see, courts have refused to find constructive notice.”); Childs v. Fitness

Int’l LLC, 2023 WL 3594180, at *3 (E.D. Pa. May 22, 2023) (“Standing alone,

using a website is not sufficient to form a contract under Pennsylvania law, and is

exactly the type of browsewrap agreement courts across the country refuse to

enforce.”). Accordingly, Defendants have not demonstrated that Plaintiff gave

either them or Facebook consent to the disclosures at issue.

   III.     PLAINTIFF PROPERLY PLEADS THAT DEFENDANTS
            VIOLATED THE UNIFORM FIREARMS ACT

            A. Plaintiff Properly Alleges that Defendants’ Transmissions to
               Facebook Constitute a “Disclosure”

      Defendants contend that the UFA claim must fail because Defendants

“cannot simultaneously be the party responsible for ‘intercepting’ a

communication and also for ‘procuring’ Facebook to commit an interception.”

MTD at 23. That argument has been rejected by every court to consider it.

      As explained, by integrating the Facebook Tracking Pixel into their

websites, Defendants assisted Facebook with intercepting Plaintiff’s

communications. See, e.g., Revitch v. New Moosejaw, LLC, 2019 WL 5485330, at



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*2 (N.D. Cal. Oct. 23, 2019) (“Although Moosejaw cannot be liable for

eavesdropping on its own communications with Revitch, the complaint adequately

alleges that Moosejaw violated section 631 by enabling Navistone’s

wrongdoing.”). At the same time, “[b]y installing the Pixel, Defendant[s] opened a

digital door and invited Facebook to enter that door and extract information from

within.” Czarnionka v. Epoch Times Association, Inc., 2022 WL 17069810, at *3

(S.D.N.Y. Nov. 17, 2022). As courts have uniformly held, that conduct “is

sufficient to constitute [a] ‘disclosure.’” See id.; see also Harris v. Public

Broadcasting Service, 2023 WL 2583118, at *5 (N.D. Ga. Mar. 20, 2023)

(rejecting the argument that the allegations fail to show “any disclosure by PBS of

her information to Facebook,” observing that “Plaintiff clearly alleges Defendant,

through the Facebook pixel, sent Plaintiff’s FID and the URLs of the videos she

watched to Facebook”); Belozerov v. Gannett Co., 2022 WL 17832185, at *3 (D.

Mass. Dec. 20, 2022) (rejecting the defendant’s argument that “it did not actually

‘disclose’ any PII to Facebook,” finding sufficient that the plaintiff “alleges

throughout the complaint that defendant inserted the code into the USA Today

website to transmit users’ information to Facebook”).

          B. Plaintiff Properly Alleges that the Uniform Firearms Act Protects
             the Information that Defendants Disclosed

      Defendants next argue that “the confidentiality provision of the UFA only

applies to an ‘application/record of sale,’ which is simply not at issue here.” See


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MTD at 24. But that argument gets the law wrong, ignoring the statute’s plain

text.

        It is well established that “courts must presume that a legislature says in a

statute what it means and means in a statute what it says there,” see Connecticut

Nat. Bank v. Germain, 503 U.S. 249, 253–54 (1992), so if the Pennsylvania

legislature intended to limit the UFA’s confidentiality provision to only

information on the “application/record of sale,” then it would have said so

explicitly. Instead, the Pennsylvania legislature chose to protect “[a]ll

information” that a purchaser “furnishes” when completing a transaction for a

firearm. See 18 Pa. C.S. § 6111(i). That aligns with rulings from Pennsylvania’s

Office of Open Records, which has consistently held that the UFA’s confidentiality

provision broadly protects any information provided while purchasing a firearm.

See Deckant v. Wayne County Sheriff’s Office, 2018 WL 381772, at *3 (Pa. Off.

Open. Rec. Aug. 6, 2018) (“This information, whether contained in the underlying

application or license, or collected and maintained in the course of transferring a

firearms license, is protected by the relatively broad confidentiality provision

within the Firearms Act and its implementing regulations.”); see also Sibley v.

Lehigh County, 2022 WL 30988196, *3 (Pa. Off. Open. Rec. Aug. 1, 2022)

(same).




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      Here, Plaintiff alleges that, while purchasing a firearm, he furnished his

“name” and “address,” along with information identifying “the type of gun he

purchased.” FAC ¶ 70. Then, “without consent or written authorization,”

Defendants disclosed this information to Facebook. See, e.g., id. ¶ 9. Because this

information was “collected and maintained in the course of [purchasing] a

firearm,” see Deckant v. Lancaster County Sheriff’s Office, 2018 WL 3739100, at

*4 (Pa. Off. Open Rec. Aug. 2, 2018), Defendants violated the UFA by disclosing

it.

       But even if the UFA only shields information on “applications/records of

sale,” see MTD at 24, Plaintiff’s allegations are sufficient. Plaintiff alleges he

“purchased a Henry Big Boy Class Centerfire Lever-Action Rifle -.45 Colt from

cabelas.com.” FAC ¶ 69. When Plaintiff purchased that firearm, Defendants

disclosed when he clicked “PLACE ORDER,” id. ¶ 23, which also disclosed the

“content that [he] enter[ed] into form fields,” id. ¶ 24, like his first name, last

name, address, phone number, and email address, see ¶ 25. Plaintiff provided that

information while completing the transaction—in other words, while completing

an application of sale—so even under Defendants’ narrow interpretation, his UFA

claim still survives.




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          C. Plaintiff Properly Alleges that the Uniform Firearms Act Protects
             the Information that Defendants Disclosed

      Defendants then asserts that, “[e]ven if there were an improper ‘disclosure’

here, Plaintiff does not allege a ‘public’ disclosure as required by the statute’s plain

text.” MTD at 25. But far from being required by the statutory text, Defendants’

interpretation would defeat the statute’s purpose.

      As an initial matter, an appellate court in Pennsylvania has already rejected

Defendants’ interpretation, reversing a lower court’s ruling and concluding that,

“given the extent to which the General Assembly built confidentiality into the

UFA, we cannot agree with common pleas’ construction of the term ‘public

disclosure’ in Section 6111(i) as incorporating the requirement of ‘publicity’

necessary to prove the common law tort of invasion of privacy.” See Doe v.

Franklin County, 139 A.3d 296, 306 (Pa. Commw. Ct. 2016), rev’d on other

grounds, 644 Pa. 1 (2017). Instead, “the General Assembly included both the term

‘confidential’ and the phrase ‘not subject to public disclosure’ in Section 6111(i)

so that issuing sheriffs may disclose the information to those necessary for law

enforcement or criminal justice purposes.” Id. “Disclosure to any other person

constitutes ‘public disclosure’ for purposes of this section.” Id. at 307; see also id.

(“Any other interpretation of Section 6111(i) … would be inconsistent with the

UFA’s purpose and structure.”).




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      Along with conflicting with the view of a Pennsylvania appellate court,

Defendants’ interpretation would also defeat the statute’s purpose. Under

Defendants’ interpretation, anyone could file a public information request and

receive firearms records so long as they are “one entity” and not “numerous

individuals.” MTD at 25. Because that would create an easy workaround and

render the confidentiality provision a nullity, that construction should be defeated.

See Wiesheier v. Kessler, 311 Pa. 380, 384 (1933) (“Where, on a reasonable

interpretation, a statutory provision is susceptible of a construction which will

carry into effect the avowed purpose of the act, that construction should be given to

it, rather than one which in practical operation might defeat such purpose.”). As

such, because Plaintiff properly alleges a disclosure to Facebook, Defendants’

conduct amounts to a UFA violation.

                                  CONCLUSION

      For the foregoing reasons, Defendant’s Motion should be denied in full.

Dated: August 11, 2023                  Respectfully submitted,


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